        Case 1:17-cv-02726-JFK-OTW Document 258 Filed 06/28/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
                                                              :
BSG RESOURCES (GUINEA) LIMITED, et al.,
                                                              :
                                       Plaintiffs,            :      17-CV-2726 (JFK) (OTW)
                                                              :
                      -against-                               :      ORDER
                                                              :
GEORGE SOROS, et al.,                                         :
                                                              :
                                       Defendants.            :
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         ONA T. WANG, United States Magistrate Judge:

         The Court is in receipt of the parties’ June 22, 2021 status letter. (ECF 256). It is HEREBY

ORDERED that:

    •    Dag Lars Cramer shall be deposed on August 24, 2021, and Benjamin “Beny” Steinmetz
         shall be deposed on August 29, 2021. Defendants may seek to reopen either or both
         depositions on the basis of any documents produced on or after August 17, 2021. 1

    •    On July 7, 2021, the parties are directed to submit a 3-page joint status letter on: 1) the
         log and metadata issues referenced in the June 22, 2021 status letter; and 2) any other
         open discovery disputes.

    •    The parties are directed to appear for a series of confidential, telephonic, counsel-only
         discovery settlement conferences on July 12, 2021. Plaintiffs shall dial in at 2:00 pm to
         (866) 390-1828, access code 1582687. Defendants shall dial in at 3:00 pm to the same
         conference line.

         SO ORDERED.



                                                                     s/ Ona T. Wang
Dated: June 28, 2021                                                            Ona T. Wang
       New York, New York                                              United States Magistrate Judge


1
 It thus behooves Plaintiffs to substantially complete production of relevant documents so that Mr. Cramer’s and
Mr. Steinmetz’s depositions may be completed on the scheduled dates.
Case 1:17-cv-02726-JFK-OTW Document 258 Filed 06/28/21 Page 2 of 2
